             Case: 4:16-cv-00550-SNLJ Doc. #: 10 Filed: 11/07/16 Page: 1 of 1 PageID #: 29
AO 120 (Rev. 08/10)

                               Mail Stop 8                                                   REPORT ON THE
TO:
           Director of the U.S. Patent and Trademark Office                          FILING OR DETERMINATION OF AN
                             P.O. Box 1450                                           ACTION REGARDING A PATENT OR
                      Alexandria, VA 22313-1450                                                TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
           filed in the U.S. District Court                        Eastern Division of Missouri                              on the following
       D    Trademarks or      ~ Patents. (       D   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
     4: l 6-cv-00550-SPM                      411912016                                     Eastern Division of Missouri
PLAINTIFF                                                                  DEFENDANT

    Superior Gearbox Company                                                Heavy Hoist, Inc.



        PATENTOR                        DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK

I        US 7,850,147 Bl                      12/14/2010                                     Superior Gearbox Company

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                                 In the above-entitled case, the following patent(s)/ trademark(s) have been included:

DATE INCLUDED                     INCLUDED BY
                                                          D   Amendment       D     Answer       D    Cross Bill         D   Other Pleading
        PATENTOR                        DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK

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                      In the above-entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT


           Stipulation of dismissal granted on 11/4/16 by District Judge
           Stephen N. Limbaugh Jr.




Copy 1-Upon initiation of action, mail this copy to Director Copy 3-Upon termination of ac "on, m
Copy 2-Upon filing document adding patent(s), mail this copy to Director Copy 4--Case file copy
